     Case 1:25-cv-00352-CJN      Document 24-6     Filed 02/11/25      Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )        Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )


                        DECLARATION OF RUTH DOE

      I, Ruth Doe, declare the following under penalties of perjury:

      1.    I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am a member of the American Foreign Service Association.

      3.    I am a USAID Foreign Service Health Officer and oversee the

responsible management of about $60 million annually.

      4.    My husband and I were evacuated from Kinshasa, Democratic Republic

of Congo (DRC) to Brazzaville, Republic of Congo on January 29, 2025. We were

notified of the ordered departure evacuation at 3pm on January 28 and picked up

from our apartment by Embassy vehicles at 3:30am on January 29. We were

consolidated at another embassy residence and waited at the consolidation point for

12 hours without access to food and limited water. We were offered Meals-Ready-to-

Eat (MREs) after a few hours. I am pregnant and I was unable to eat the MREs. By
     Case 1:25-cv-00352-CJN       Document 24-6      Filed 02/11/25   Page 2 of 4




the time we crossed by boat to Brazzaville around 1pm, I was sick from lack of food

and water and exhaustion and had to be expedited to the hotel to be able to get food

and water.

      We were allowed to bring one carry-on bag per person small enough to sit on

our lap which we mostly filled with essential documents (passports, birth certificates,

marriage certificate, etc.) and a couple pieces of clothing, including winter jackets

since we would be returning to Washington, D.C in the middle of winter. We left

behind the rest of our belongings, including two vehicles and other valuables.

      We boarded a charter flight to depart Brazzaville, Republic of Congo on

January 31st at 1.30am. After almost 20 hours of travel, we arrived in Washington

Dulles Airport on January 31st around 3.30pm.

      Since arriving in Washington, DC, I have struggled to find a health care

provider to access prenatal services. Up to this point, all of my prenatal care has been

managed by the State Department Bureau of Medical Services through the Medical

Unit at the US Embassy in Kinshasa. I called five different practices in the DC area

upon arrival and the earliest appointment I could obtain is March 10 which is too late

for a second trimester scan according to the timeline for care I received from the

medical provider with the Medical Unit in the US Embassy in Kinshasa. I was

assured before evacuation that the State Department would help facilitate access to

timely prenatal care so that I would be able to obtain my second trimester scan on

time. Up to this point, the State Department Bureau of Medical Services has been

unable to assist with arranging an appointment earlier than March 10. The imminent



                                           2
     Case 1:25-cv-00352-CJN      Document 24-6     Filed 02/11/25   Page 3 of 4




shut down of USAID has further exacerbated my stress and concern in accessing

timely prenatal services since I would be cut off from my email and communication

with the State Department Bureau of Medical Services. Even while on

Administrative Leave, it is not clear what support I would be able to access.

      To obtain timely prenatal care, I have paid out of pocket to fly to my home of

record where I have been able to arrange for a prenatal appointment through family

contacts with a provider.

      5.     The USAID shutdown has limited the ability of the Agency to disburse

funding and make payments. This is extremely concerning for USAID Officers

recently evacuated to Washington, DC who are forced to cover costs of

accommodation, food, clothes and other necessities since we were unable to pack

anything substantial before departing Kinshasa. In one week, I have spent almost

$5,000 on these necessities. We have received conflicting and unclear guidance on

how to submit for reimbursement for these costs. Given the chaotic nature of the

USAID shutdown, I am concerned that we will not receive timely reimbursement for

these costs. As previously stated, I am already paying out of pocket to travel outside

of Washington DC to seek timely prenatal care. I have not been put on administrative

leave yet or terminated; however, I am extremely concerned about losing access to

health insurance while pregnant and without adequate notice.

      My husband is an eligible family member (EFM) employed by the Department

of State and works in the General Services Office in the US Embassy in Kinshasa.

He is currently working in Washington, DC while we are on evacuation orders. He



                                          3
     Case 1:25-cv-00352-CJN       Document 24-6      Filed 02/11/25   Page 4 of 4




has been told that his employment eligibility is linked to my continued employment

as a USAID Foreign Service Officer, making both of our incomes uncertain.

        6.    USAID financially supports the procurement warehousing, and

distribution of commodities for the diagnosis, prevention, and treatment of

tuberculosis, including multi-drug-resistant tuberculosis, in the DRC. As of early

January, due to the global shortage of rifampicin, almost 11,000 patients were on a

wait list to receive tuberculosis treatment. At this moment, there are commodities

sitting in the warehouse in the National TB program in Kinshasa waiting to be

distributed to provinces and to last-mile health facilities. With the shutdown and stop

work order put in place, these commodities which have already been paid for, will

continue to sit in the warehouse. This will increase the number of patients with

treatment interruption which will increase the risk of multi-drug resistance, increase

the number of patients who will die of tuberculosis, and increase the spread of the

disease within their communities. Infectious diseases do not recognize international

borders. As we collectively learned during the COVID-19 pandemic, respiratory

diseases are particularly difficult to contain and increased rates of tuberculosis

globally will pose a threat to global health security and the health of Americans at

home.

I declare under penalty of perjury that the foregoing is true and correct.

        Executed on February 10, 2025.

                                              /s/ Ruth Doe
                                              Ruth Doe




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